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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES - GENERAL

  Case No. 2:24−cv−08688−MWF−PVC                       Date       June 2, 2025
             MONICA BENITEZ MENDEZ V. JEFFERSON CAPITAL SYSTEMS, LLC ET
  Title
            AL




 PRESENT: THE HONORABLE MICHAEL W. FITZGERALD, U.S. DISTRICT JUDGE
                  Rita Sanchez                                Not Reported;
                Courtroom Deputy                              Court Reporter

      Attorney(s) Present for Plaintiff(s):        Attorney(s) Present for Defendant(s):
                None Present                                   None Present


 PROCEEDINGS (IN CHAMBERS): COURT ORDER


         In light of the Notice of Settlement filed 5/30/25, the Court sets a hearing on Order
   To Show Cause Re Dismissal for July 7, 2025 at 11:30 AM. If a stipulated dismissal is
   filed prior to this date, the matter will be taken off calendar and no appearance is
   needed. All other hearings and deadlines are hereby vacated.

          IT IS SO ORDERED.




                                                                     Initials of Clerk: rs




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